/o »6°32°/7 ~~ Case 1:22-cv-04149-WMR Document 9 Filed 11/09/22 Page 1 of 2
Case 1:22-cv-04149-WMR Document 4 Filed 10/18/22 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Norther District of Georgia

Ramona Thurman Bivins,

 

Plaintiffs)
Vv.

Felicia Franklin, in her individual and official
capacities, Alieka Anderson, in her individual and
official capacities, Gail Hambrick, in her individual and
official capacities, and Clayton County, Georgia,

Civil Action No. 1:22-cv-4149

 

Defendant(s)

SUMMIONS IN A CIVEL ACTION

Gail Hambrick, in her individual and official capacity
1656 Lauranceae Way
Riverdale, GA 30296

To: (Defendant's name and address)

A, lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)() or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Edward D. Buckely and Andrew R. Tate

Buckley Beal LLP
600 Peachtree Street NE, Suite 3900

Atlanta, GA 30308

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

KEVIN P. WEIMER
CLERK OF COURT

s/Stephanie Wilson-Bynum

Date: 10/18/2022

 

Signature of Clerk or Deputy Clark

 

 
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Civil Action No, 1:22-cy-4149

PROOF OF SERVICE
(This section shoutd not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) GC c; / Ho mob MC &

 

was received by me on (date) lo PO [AX

CI I personally served the summons on the individual at (lace) / 696 i ur ee <@ bay

 

Ol (date) [O/ 2. / a4. : or /

© [left the summons at the individual’s residence or usual place of abode with (name)

 

, a person of suitable age and discretion who resides there,

 

Ol (date) . and mailed a copy to the individual’s last known address: or

1 Iserved the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

ON (date) ; or

 

OF Ireturned the summons unexecuted because > or

 

C1 Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

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de ed name and title

/271 Brum k fe Ryre
htlad 68 WIy

Server’s address

Date: Wd 22

 

 

Additional information regarding attempted service, etc:
